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                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF CONNECTICUT

      In re:                                                       Case No.: 24-50786

               SUSANNE P. WAHBA                                    Chapter: 11

                   Debtor-in-Possession.                           ECF No. 41
      ________________________________/

                                      CERTIFICATE OF SERVICE

               In accordance with the applicable provisions of Federal Rules of Bankruptcy

      Procedure 2002, 7004, and 9014, the undersigned certifies that on the 7th day of

      JANUARY, 2024, the following documents were served on the U.S. Trustee and all

      appearing parties via the court’s electronic filing system, and, on the 8th day of

      JANUARY, 2024 by USPS First-Class mail, postage pre-paid, on all interested

      parties listed in section 2 below:

       1. Documents Served:

               1. Debtor’s Supplemental Exhibit D (ECF # 41) to Debtor’s Motion for Relief

                 from Dismissal Order (ECF # 38); and,

               2. Certificate of Service (ECF # 41).


       2. Parties Served via First Class Mail:

         U.S. Trustee                                  American Express National Bank
         Attn; Holley Claiborne                        Attn: Manager, Bankruptcy Dept.
         Office of the U.S. Trustee                    115 W Towne Ridge Pkwy
         Giaimo Federal Building                       Sandy, UT 84070
         150 Court St., Room 302
         New Haven, CT 06510-2022




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        BARCLAY DAMON LLP                         CACH, LLC
        ATTN: BRIAN RICH, ESQ.                    c/o Resurgent Capital Services
        545 LONG WHARF DR 9TH FL                  PO Box 10587
        New Haven, CT 06511                       Greenville, SC 29603-0587

        Department of Revenue Services            Internal Revenue Service
        Attn: Collections, Bankruptcy Team        Centralized Insolvency Operation
        450 Columbus Blvd Ste 1                   PO Box 7346
        Hartford, CT 06103-1837                   Philadelphia, PA 19101-7346

        Midland Credit Management, Inc.           Marino, Zabel & Schellenberg, PLLC
        Attn: Manager, Bankruptcy Dept.           Attn: Dennis J. Kokenos, Esq.
        350 Camino De La Reina Ste. 100           657 Orange Center Rd
        San Diego, CA 92108                       Orange, CT 06477

        Law Offices Howard Lee Schiff, PC         Susanne P. Wahba
        510 Tolland St.                           111 Byram Shore Road
        East Hartford, CT 06108                   Greenwich, CT 06830-6907

        Town of Greenwich                         Willcutts & Habib LLC
        Attn: Heather Smeriglio, Tax Collector    Attn: Michael Habib, Esq.
        101 Field Point Road                      100 Pearl St., Fl. 14
        Greenwich, CT 06830                       Hartford, CT 06103-4500

        Abraham M Hoffmann                     U.S. Securities and Exchange Commission
        4154 Madison Ave.                      100 F St. NE
        Trumbull, CT 06611                     Washington, DC 20549-2000

        JPMORGAN CHASE BANK N A                           Dr. Magdy Wahba
        ATTN: BANKRUPTCY MAIL INTAKE TEAM                 306 Upper Mountain Ave # 1
        700 Kansas Ln., Fl. 1                             Montclair, NJ 07043
        Monroe, LA 71203-4774



           Dated at NEW HAVEN, CONNECTICUT this 7th day of JANUARY, 2024.




                                                     _______________________________
                                                     MICHAEL J. HABIB, ESQ. (CT29412)




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